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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,
                                                              15-CR-88A
             -v-

XENIA LEON-BECERRIL,

                Defendant.
___________________________________



                                 DECISION AND ORDER

             This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

on dispositive motions. Dkt. #9.



                             PRELIMINARY STATEMENT

             The defendant, Xenia Leon-Becerril (“the defendant”), is charged along

with her co-defendant John Villegas in a two-count Superseding Indictment with having

violated Title 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), 846 and Title 18 U.S.C. § 2. Dkt. #s

18, 24. The defendant has filed an omnibus discovery motion wherein she seeks

production and disclosure of various items and information from the government.

Dkt. #43. The government has filed a response to these demands. Dkt. #44. At a

proceeding on October 19, 2016, this Court deemed Mr. Villegas’ omnibus motions

submitted on the papers. The following constitutes this Court’s ruling on each of the

defendant’s requests.
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                            DISCUSSION AND ANALYSIS

              1. Defendant’s Request for Rule 16 Materials, Dkt. #43, pp. 8-16

             The government represents that it has provided or will provide any

materials within the purview of Rules 16 and 12(b)(4)(B) of the Federal Rules of

Criminal Procedure. Dkt. #44, pp. 2-3. Therefore, this request is DENIED as moot.



              2. Defendant’s Request for Statements, Dkt. #43, pp. 8-9

             The government contends that all written and recorded statements of

defendant have been provided or will be provided. Therefore, this request is DENIED

as moot.



              3. Defendant’s Request for Copies of Her Prior Criminal Record,
                 Dkt. #43, p. 9

             The government has agreed to provide the defendant with her arrest

record. Therefore, this request is DENIED as moot.



              4. Defendant’s Request for Documents and Tangible Objects,
                 Dkt. #43, p. 9

      The government contends that it has made available “all tangible objects

obtained pursuant to search warrants or otherwise and will make available photographs

material to the preparation of a defense or intended to be used as evidence-in-chief at

trial or obtained from or belonging to the defendant.” Dkt. #45, p. 6. Therefore, the

defendant’s request is DENIED as moot.




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              5.   Defendant’s Request for Reports of Examinations and Tests,
                   Dkt. #43, p. 10
             The government states that it has made available to the defendant “the

results and reports of physical and mental examinations and of scientific tests and

experiments made in connection with the case.” Dkt. #45, p. 6. Based on this

representation, the defendant’s request is DENIED as moot.



              6.   Request for a Bill of Particulars, Dkt. #43, pp. 11-12

             The function of a bill of particulars is to apprise a defendant of the

essential facts of the crime for which she has been charged. United States v. Salazar,

485 F.2d 1272, 1277-78 (2d Cir. 1973); Wong Tai v. United States, 273 U.S. 77 (1927).

             A bill of particulars should be required only where the
             charges of the indictment are so general that they do not
             advise the defendant of the specific acts of which he is
             accused.” United States v. Feola, 651 F. Supp. 1068, 1132
             (S.D.N.Y. 1987), aff’d, 875 F.2d 857 (2d Cir.) (mem.), cert.
             denied, ____ U.S. ____, 110 S.Ct. 110, 107 L.Ed.2d 72
             (1989); see also United States v. Leonelli, 428 F. Supp. 880,
             882 (S.D.N.Y. 1977). “Whether to grant a bill of particulars
             rests within the sound discretion of the district court.” United
             States v. Panza, 750 F.2d 1141, 1148 (2d Cir. 1984) (citing
             United States v. Burgin, 621 F.2d 1352, 1358-59 (5th Cir.),
             cert. denied, 449 U.S. 1015, 101 S.Ct. 574, 66 L.Ed.2d 474
             (1980)); see also United States v. Bortnovsky, 820 F.2d 572,
             574 (2d Cir. 1987). “Acquisition of evidentiary detail is not
             the function of the bill of particulars.” Hemphill v. United
             States, 392 F.2d 45, 49 (8th Cir.), cert. denied, 393 U.S.
             877, 89 S.Ct. 176, 21 L.Ed.2d 149 (1968).

United States v. Torres, 901 F.2d 205, 234 (2d Cir. 1990), abrogated on other grounds

by United States v. Marcus, 628 F.3d 36, 41 (2d Cir. 2010); see also United States v.

Chen, 378 F.3d 151, 163 (2d Cir. 2004).

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              The charges in the Superseding Indictment, along with the discovery

materials provided or to be provided by the government, clearly inform the defendant of

the essential facts of the crimes charged. As a result, the defendant is not entitled to,

nor is she in need of, the “particulars” being sought for that purpose. The defendant’s

request is DENIED.



               7. Defendant’s Request for Production of Brady, Jencks, and Giglio
                  Material, Dkt. #43, pp. 13-17
              The defendant has made a broad request for any and all materials and/or

information that would be “exculpatory” to the defendant. The government has

acknowledged its responsibility under Brady v. Maryland, 373 U.S. 83 (1963), Giglio v.

United States, 405 U.S. 150 (1972), and Jencks v. United States, 353 U.S. 657 (1957).

Dkt. #45, pp. 8-9. The government has agreed to provide impeachment Brady material

no later than one week prior to the commencement of trial, at which time it will produce

Jencks material. This is consistent with the Second Circuit Court of Appeals’ holdings in

United States v. Coppa, 267 F.3d 132 (2d Cir. 2001), and United States v. Rodriguez,

496 F.3d 221 (2d Cir. 2007), regarding the timely disclosure of those materials to the

defendant.



              “[A]s a general rule, Brady and its progeny do not require immediate

disclosure of all exculpatory and impeachment material upon request by a defendant.”

Coppa, 267 F.3d at 146. The prosecution is obligated to disclose and turn over Brady

material to the defense “in time for its effective use.” Coppa, 267 F.3d at 144. With

respect to impeachment material that does not rise to the level of being Brady material,


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such as Jencks statements, the prosecution is not required to disclose and turn over

such statements until after the witness has completed his direct testimony. See 18

U.S.C. § 3500; FED.R.CRIM.P. 26.2; In Re United States, 834 F.2d 283 (2d Cir. 1987). If

the government has adopted a policy of turning such materials over to the defendant

prior to trial, however, the government shall comply with that policy; or in the alternative,

produce such materials in accordance with the scheduling order issued by the trial

judge.



              Based on the government’s representations, the defendant’s request for

Brady, Giglio, and Jencks materials is DENIED without prejudice.



               13. Defendant’s Request for Leave to Make Other Motions,
                   Dkt. #43, p. 19

              The defendant requests permission to file additional motions “which may

be necessitated by due process of law, by the Court’s ruling on the relief sought herein.”

Dkt. #43, p. 19. This request is GRANTED.



              It is hereby ORDERED pursuant to 28 U.S.C § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and

Order in accordance with 28 U.S.C § 636(b)(1), Fed.R.Crim.P. 58(g)(2), and Rule 59 of

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the Local Rules of Criminal Procedure for the Western District of New York (“Local Rule

Crim. Pro. 59”). Generally, “[w]hen a party fails to object timely to a magistrate's

recommended decision, it waives any right to further judicial review of that decision.”

Wesolek v. Canadair Ltd., 838 F.2d 55, 58 (2d Cir. 1988) (internal citations omitted).



                 All orders of the Magistrate Judge authorized by 28 U.S.C. § 636(b)(1)(A)

shall be final unless a party timely files written objections. “The specific matters to

which the party objects and the manner in which it is claimed that the order is clearly

erroneous or contrary to law shall be clearly set out in the objections.” Local Rule Crim.

Pro. 59(c)(1).



                 The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v. Mass.

Mun. Wholesale Electric Co., 840 F.2d 985, 990-91 (1st Cir. 1988). To ensure

compliance, Local Rule Crim. Pro. 59 requires that “[a]ny party filing objections to a

Magistrate Judge’s order or recommended disposition must include with the objections

to the District Judge a written statement either certifying that the objections do not raise

new legal/factual arguments, or identifying the new arguments and explaining why they

were not raised to the Magistrate Judge.”




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             Failure to comply with the provisions of Local Rule Crim. Pro. 59,

may result in the District Judge’s refusal to consider the objection.



DATED:       January 12, 2017
             Buffalo, New York




                                        S/ H. Kenneth Schroeder, Jr.
                                        H. KENNETH SCHROEDER, JR.
                                        United States Magistrate Judge




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